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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

  THE HOMESOURCE, CORP.,
                                                       Case No.: 1:18-cv-11970-ECR-AMD
                        Plaintiff,

         vs.

  RETAILER WEB SERVICES, LLC, et al.,

                       Defendants.


                             SEVENTH SCHEDULING ORDER

       AND NOW, this 14th day of February, 2022, pursuant to Paragraph 3(b) of the Order

 appointing Judge Stephen M. Orlofsky (Ret.) as Special Master (Doc. No. 281), it is hereby

 ORDERED that:

       1.      All fact discovery shall be completed by April 22, 2022.

       2.      All opening expert reports shall be exchanged by May 24, 2022.

       3.      All rebuttal expert reports shall be exchanged by June 27, 2022.

       4.      All expert discovery shall be completed by July 25, 2022.

       5.      Any motions for summary judgment shall be filed by September 19, 2022.

       6.      Responses to any motions for summary judgment shall be filed by October 17,
               2022.

       7.      Replies in support of any motions for summary judgment shall be filed by
               November 7, 2022.

       8.      Following the submission or non-submission of motion(s) for summary judgment,
               Judge Robreno shall reset pre-trial and trial deadlines.
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       IT IS SO ORDERED.

                                     /s/ Stephen M. Orlofsky
                                  Special Master Judge Stephen M. Orlofsky (Ret.)




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